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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

DENESSA TAYLOR                                 JURY TRIAL DEMANDED

v.                                             CASE NO. 3:10cv

NCO FINANCIAL SYSTEMS, INC.

                                        COMPLAINT

1.        This is an action pursuant to the Fair Debt Collection Practices Act

("FDCPA"), 15 U.S.C. §1692 et seq.

2.        This Court has jurisdiction. 15 U.S.C. §1692k.

3.        Plaintiff is a natural person and a consumer within the FDCPA, who resides in

Connecticut.

4.        The Defendant is licensed as a Consumer Collection Agency by the State of

Connecticut, Department of Banking.

5.        The defendant is a “debt collector” as the term is defined in the FDCPA.

6.        Defendant attempted to collect from plaintiff a personal account allegedly owing to

Verizon Wireless.

7.        Defendant sought to collect from plaintiff a Balance Due of $673.19

8.        Defendant did not disclose that the Balance Due included a Collection Fee of

$87.80.

9.        Defendant had not charged any collection fee to Verizon.

10.       The collection fee was neither expressly authorized by the agreement nor permitted

by law.

11.       Upon information and belief, defendant reported the Balance Due to various credit

reporting agencies as $673.19, rather than the correct balance of $585.39.
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WHEREFORE plaintiff respectfully requests this Court to:

  1. Award plaintiff such damages as are permitted by law, including $1,000 statutory

damages under the FDCPA.

  2. Award the plaintiff costs of suit and a reasonable attorney's fee;

  3. Award such other or further relief as law or equity may provide.

                                     THE PLAINTIFF



                                     BY______/s/ Joanne S. Faulkner___
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